Case: 1:03-cv-00933 Document #: 1 Filed: 02/07/03 Page 1 of 12 Page|D #:1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CONSUELLA L. COTTON, in her own proper )
person and as mother and next fn'end of her minor ) ,]UDGE ZAG§§W
children, sHAvoN CoTToN, JANICE CoTTON, )
NATEIYA COTTON, IEISHA COTTON, JAMAL)

 

COTTON, JEREMA[NE COTTON, AND ) ’ _
PHlLLIP McCARTHY, Jr., ) C ® 0 9 3 3l
)
Plaintiff, )
v. i CaS-§BIBSE in ii `_’: ‘;;"l (/`
) Hon. 211 1:-: 1151
THE CITY OF CHICAGO, an Illinois Municipal ) Judge Presiding. '_ _- 'j "" ij
Corporation, SERGEANT DERRICK STARKS, , ’<-".1 1 r`l` 151
star N<>. 2226, , and VARIOUS UNKNOWN )Mseis'rs:; re §Un=-Gs KEY$;:,' §§ 19
POLICE OFFICERS OF THE CITY OF ) "E :;;) “'°`
CHICAGO, individually and as employees of the ) 1_-;/‘{ c
Chicago Police Department, )
) 1
Defendants. ) JURY DEMANDED BEM:%ET§@

_Q_(M»_A_IHI
NOW COMES the Plaintiff, CONSUELLA L. COTTON, in her own proper person and as
mother and next friend of her minor children, SHAVON COTTON, JANICE COTTON, NATEIYA
COTTON, IEISHA COTTON, JAMAL COTTON, JEREMA]NE COTTON, AND PHILLIP
MCCARTHY, Jr., by and through her attorneys, John P. De Rose and Associates, and complains of
the Defendants, THE CITY OF CHICAGO, a Municipal Corporation, SERGEANT DERRICK
STARKS, and various U`NKNOWN POLICE OFFICERS OF THE CITY OF CHICAGO,
individually and as employees of the City of Chicago, and states:
JURISDICTION
1. The jurisdiction of this Honorable Court is invoked pursuant to 42 U.S.C. § 1983 and

supplemental jurisdiction is requested over state law claims pursuant to 28 U.S.C.

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§ 1367.

PARTIES
CONSUELLA L. COTTON, (sometimes hereinafter referred to as “Plaintiff’), at all
relevant times hereinafter mentioned was a citizen and resident of the State of Illinois
and of the United States.
SHAVON COTTON, JANICE COTTON, NATEIYA COTTON, ]EISHA COTTON,
JAMAL COTTON, JAMAL COTTON, JEREMAINE COTTON, AND PHILL]P
McCARTHY, Jr., at all relevant times hereinafter mentioned Were citizens and
residents of the State of Illinois and of the United States.
THE CITY OF CHICAGO, is an Illinois Municipal Corporation.
SERGEANT DERRICK STARKS and the VARIOUS UNKNOWN POLICE
OFFICERS OF THE CITY OF CHICAGO, at all relevant times hereinafter
mentioned are believed to have been citizens and residents of the State of lllinois and
the United States and were employees of the Chicago Police Department.
The identities of the VARIOUS UNKNOWN POLICE OFFICERS OF THE CITY
OF CHICAGO are unknown at this time but can and will be ascertained during the
discovery phase of the above-captioned cause, at which time Plaintiff will seasonably
move the Court for leave to tile an Amended Complaint properly identifying them.

FACTS

On or around February 14, 2002, Plaintiff Was at her horne located at 6018 S.
Champlain in Chicago, Illinois.

On or around February 14, 2002 at approximately 6:15 p.m., Sergeant Starks and the

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Unknown Defendant Police Officers appeared at Plaintiff’ s home and began banging
on the door to the vestibule of the lobby of her apartment building.

Sergeant Starks and the Unknown Defendant Police Offlcers were in plain clothes
and wearing bullet proof vests, but showing no outward signs of lawful authority
At the hanging and insistent demands of Sergeant Starks and the Unknown
Defendant Police Officers, Plaintiff immediately opened the door to the vestibule
of the lobby of the apartment building

Without warrant or invitation, Sergeant Starks and the Unknown Defendant Police
Officers violently pushed Plaintiff aside and then boisterously rushed and entered her
home on the first floor of the building with their guns drawn.

Sergeant Starks and the Unknown Defendant Police Officers’ entry into Plaintii`f’s
home frightened and intimidated Plaintiff and her family, consisting of seven minor
children ranging in age from 16 years to 2 years.

Sergeant Starks and the Unknown Defendant Police Officers announced that
someone had sold drugs through the front door of the apartment building to an
undercover officer, and that they Were looking for marked money.

Sergeant Starks and the Unknown Defendant Police Offlcers searched, ransacked,
and upset the horne of Plaintift` and her minor children.

Sergeant Starks and the Unknown Defendant Police Officers hollared and ordered
Plaintiff and her minor children about the house, except Shavon Cotton who was not
home at the time.

Sergeant Starks and the Unknown Defendant Police Ofticers accused Plaintiff of

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having drugs in home

Plaintiff emphatically insisted there were no drugs in her home,

Sergeant Starks replied, “I know you are involved in this.”

Sergeant Starks and the Unknown Defendant Police Officers ushered Plaintiff and
her minor children into the front room of her home,

Sergeant Starks and the Unknown Defendant Police Offrcers then brought two
unknown men in handcuffs to the living room of the apartment and made them sit on
the floor.

In the presence and view of her minor children and the two men who were
handcuffed on the living room tloor, one ofUnknown Defendant Police Officers then
made Plaintiff pull her underwear down and her gown up, without any right or
reason to so do.

At that time Plaintiff was in plain view of the two men in handcuffs as well as
Sergeant Starks and the Unknown Defendant Police Officers as they walked about
the apartment

Shavon Cotton, Plaintiffs oldest daughter was outside the door to the home and was
not allowed to enter by order of Sergeant Starks and the Unknown Defendant Police
Offrcers.

Frorn her vantage point outside her home, Shavon Cotton could see her mother being
subjected to the strip search in front of her brothers and sisters.

Without any right or reason to so do, Sergeant Starks and the Unknown Defendant

Police Officers then searched Plaintiff s minor children who were in the home at the

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time.

26. Brina Spensor, Plaintiff’ s female friend who was visiting her at the time was also
searched

27 . After Sergeant Starks and the Unknown Defendant Police Offrcers claimed to have
found drugs in the upstairs apartment, they told Plaintiff in the presence of her minor
children that they knew she was a part of it and that they Would take her children
away from her.

28. ln her presence and the presence of her minor children, Defendant Starks asked the
two men nom the upstairs apartment if Plaintiff was involved in the selling of drugs,
to which they replied, “No, she just lives on the first floor.”

29. Sergeant Starks and the Unknown Defendant Police Officers released the two
unknown men from the handcuffs and allowed them to leave the buildingl

30. Sergeant Starks and the Unknown Defendant Police Officers finally left Plaintiff’s
home after upsetting her, her minor children, and the guest of her household

31. Plaintiff and her family have suffered from emotional distress as a result of the
violations that occurred at the hands of Defendants.

COUNT I
VIOLATION OF 42 U.S.C.§ 1983
(ILLEGAL SEARCH AND SEIZURE AGAINST ALL DEFENDANTS)

32. Plaintiff repeats and realleges paragraphs 1 through 31 of this complaint as
paragraphs 1 through 31 of Count l as though fully set forth herein.

33. Defendants violated the federally protected civil rights of Plaintiff Consuella L.

Cotton and those of her minor children, including the Fourth Amendment right to be

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free of illegal search and seizure, as applied to the State of Illinois through the
Fourteenth Amendment.

All Defendants at all relevant times were acting under the color of state law.
Defendants, Without any legitimate reason or cause, unlawfully entered Plaintiff s
premises without a search warrant and without the consent of the rightful owner or
any person with apparent authority.

Defendants, without any legitimate reason or cause, seized and searched Plaintiff and
the person of her minor children and that of her house guest and Plaintiff’s horne .
Defendants knew or should have been known that their actions were violative of
rights guaranteed to Plaintiff and her minor children

The City of Chicago, by and through its officers and agents has failed to investigate,
discipline, reprimand or instruct its officers in any way for the malicious and
unconstitutional actions of its officers thus evincing a policy, practice and custom of
encouraging and condoning such acts and exhibiting a reckless disregard for the
rights of citizens in the jurisdiction

At all relevant times, Defendant Starks and the Unknown Defendant Police Officers
were acting pursuant to Defendant City of Chicago custom and practices

The Defendants’ actions were intentional and malicious and showed a willful and
wanton disregard for the rights of the Plaintiff and her minor children.

The Defendants’ actions have caused and continue to cause the Plaintiff and her
minor children great expense, anxiety, and pain of mind and body for a long time,

all to the Plaintiff’s damage.

 

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WHEREFOR_E, Plaintiff, CONSUELLA L. COTTON, in her own proper person and as

mother and next friend of her minor children, SHAVON COTTON, JANICE COTTON, NATEIYA

COTTON, IEISHA COTTON, JAMAL COTTON, JAMAL COTTON, JEREMAINE COTTON,

AND PHlLLlP McCARTHY, Jr., respectfully prays for judgment against the DEFENDANTS and

each of them as follows:

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Compensatory damages in the amount of one million dollars ($1,000,000), including
but not limited to, physical injury and disability, pain and suffering, and medical
expenses which were incurred as a result of Defendant’s actions;

Costs of this suit;

Reasonable attorney’s fees;

Other such relief as this Honorable Court deems proper and just; and

Punitive damages from individual Defendants in the amount of one million dollars
($1,000,000).

COUN'I` II

BATTERY
(Against the Individually Named Defendants)

Plaintiff repeats and realleges paragraphs l through 41 of this complaint as
paragraphs 1 through 41 of Count ll as though fully set forth herein.

On or around February 14, 2002, Defendants, without any legal justification,
violently, forcefully, and without consent, shoved and jostled Plaintiff and her minor
children and made an insulting and provocative contact with her and them.

As a result of Defendants’ unlawful battery against Plaintiff and her minor children,
Plaintiff and some of those children have suffered physical and emotional injuries

resulting in extreme and continuing pain and expense.

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Defendants’ actions were the direct and proximate cause of the injuries suffered by
Plaintiff and her minor children.
Defendants’ actions were taken intentionally and with malice so as to cause severe

Plaintiff and her minor children physical and emotional pain.

WHEREFORE, Plaintiff, CONSUELLA L. COTTON, in her own proper person and as

mother and next friend of her minor children, SHAVON COTTON, JANICE COTTON, NATEIYA

COTTON, IEISHA COTTON, JAMAL COTTON, JAl\/IAL COTTON, JEREMAINE COTTON,

AND PHILLIP McCARTHY, Jr., respectfully prays for judgment against the DEFENDANTS and

each of them as follows:

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48.

Compensatory damages in the amount of one million dollars ($1,000,000), including
but not limited to, physical injury and disability, pain and suffering, and medical
expenses which were incurred as a result of Defendant’s actions;

Costs of this suit;

Reasonable attomey’s fees;

Other such relief as this Honorable Court deems proper and just; and

Punitive damages in the amount of one million dollars ($1,000,000).

COUNT III
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

Plaintiff repeats and realleges paragraphs l through 46 of this complaint as
paragraphs 1 through 46 of Count 111 as though fully set forth herein.
The actions of the Defendants, including the illegal entry into Plaintiff’ s home, the

illegal search of Plaintiff’s home, the impermissible strip search of Plaintiff, the

 

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search of her minor children, and the battery perpetrated by Defendants on Plaintiff
and her minor children, were extreme and outrageous

The Defendants knew or reasonably should have known that the Plaintiff was the
rightful owner of the seized property and their entry and subsequent actions had a
high probability of causing severe emotional distress to the Plaintiff and her minor
children.

The Defendants’ actions were intentional and malicious and demonstrated a willful
and Wanton disregard for the rights of the Plaintiff and her minor children and had
a high probability of causing severe emotional distress to the Plaintiff and some of
her children.

The Defendants’ actions have caused and continue to cause Plaintiff and some of her
minor children severe emotional distress for which they have and must continue to

seek psychological counseling

WHEREFORE, Plaintiff, CONSUELLA L. COTTON, in her own proper person and as

mother and next friend of her minor children, SHAVON COTTON, JANICE COTTON, NATEIYA

COTTON, lEISHA COTTON, JAMAL COTTON, JAMAL COTTON, JER_EMA]NE COTTON,

AND PH[LLIP McCARTHY, Jr., respectfully prays for judgment against the DEFENDANTS and

each of them as follows:

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Compensatory damages in the amount of one million dollars (Sl,OO0,000), including
but not limited to, physical injury and disability, pain and suffering, and medical
expenses which were incurred as a result of Defendant’s actions;

Costs of this suit;

 

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C. Reasonahle attorney’s fees;
D. Other such relief as this Honorable Court deems proper and just; and
E. Punitive damages in the amount of one million dollars ($1,000,000).

Respectfully suhmitted,

hn.P DeRose

John P. DeRose and Associates
15 Spinning Wheel Road

Suite 328

Hinsdale, Illinois 60521

(630) 920-1111

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UNITED STATES DISTRICT COURT _

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Consuella L. Cotton, et ai. v. City of Chicago, et al_

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JUDGE Zl“

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APPEARANCES ARE HEREBY FlLED BY THE UNDERSIGNED AS ATTORNEY(S) FOR: Kevin Wright

Plaintiffs, Consuella L. Cotton, Shavon Cotton, Janice Cotton, Nateiya Coi;ton, Ieisha Cotton, Jamal Cotton,

Ieremaine Cotton, and Phillip McCarthy, Jr.

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